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EXHIBIT A
STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION
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OFFICE OF LEGAL AFFAIRS
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           April 7, 2022


           Paul Mello, Esq.
           Samantha Wolff, Esq.
           Hanson Bridgett
           425 Market Street, 26th Floor
           San Francisco, CA 94105


           VIA EMAIL ONLY

           RE:       Updated CDCR Data Activation Schedule

           Dear Mr. Mello and Ms. Wolff:

           Attached please find CDCR’s updated Data Activation Schedule.

           Respectfully,

           /s/ Melissa C. Bentz

           Melissa C. Bentz
           Attorney
           Office of Legal Affairs
           California Department of Corrections and Rehabilitation
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                              UPDATED CDCR DATA ACTIVATION SCHEDULE

                                               April 7, 2022

I.       EXECUTIVE SUMMARY

Since Defendants filed the most recent Data Activation Schedule on February 2, 2022, progress has
significantly slowed. Indicators are not being certified by the Special Master. New requirements are
being imposed on the process. And as a result, the cushion built in to allow completion of this project by
December 2023 has been cut in half. In sum, there is a significant risk we will miss our target date.

The February 2 activation schedule estimated that 17-18 indicators would have completed all the data
remediation steps by now. But, as of March 30, 2022, the Special Master’s Data Expert has only certified
one indicator after working with CDCR for two years. It is unclear if the Special Master has certified this
indicator. Consequently, the parties are 2.8-month behind schedule for verifying indicators. Moreover,
while incremental pre-certification progress for all of the provisionally approved key indicators
continues to be ahead of schedule, that progress has decreased from 5.1 months ahead of schedule (as
of December 31, 2021) to only 2.5 months. Several new delays and ongoing contingencies contributed
to slower progress over the past three months.

The most significant delay impacting the activation timeline over the past three months occurred when
the project transitioned to the new pilot data remediation plan on February 2, 2022. The steps to
achieve Data Remediation and the order in which they are completed were changed to mitigate
contingencies created by the Special Master, such as the delays created by the 36-step verification
process and the Special Master’s decision to discontinue incremental written feedback. The pilot data
remediation plan was designed to avoid delays by collapsing unnecessary steps and streamlining the
review process. As of March 30, 2022, the pilot data remediation plan has had mixed success in that it
has increased transparency but not efficiency.

Additional risks of delay identified since the February 2 filing include the Special Master’s Data Expert’s
stated need for live data collection during Continuous Quality Improvement (CQI) Tours before
completing data remediation. CDCR and the Special Master’s team have identified a mitigation plan to
avoid delays associated with the need for live data collection and the contingency specified in the
previous filing regarding incremental feedback to the CQI Guidebook. Although efforts will be made to
mitigate those delays, separate delays were discovered when CDCR identified several new
subcomponents (nine glossary items and data elements) were identified as necessary to document the
provisionally approved key indicators fully. These new subcomponents were added to the review
process extending the overall timeline.

Given the ongoing number of delays and challenges, necessary revisions and plans to mitigate these
delays, and significant risks of further delay uncovered in the past six months, CDCR believes regular 90-
day updates to the Court are essential and should continue. Data remediation is a stated priority for the
parties and the Special Master, and regular updates from CDCR will ensure the process remains
transparent and focused on timely completion. Regular updates allow the Court to be apprised of
continuing or new contingencies and areas in which the parties need guidance from the Court. At the
last status conference, CDCR indicated that concerns remained about the final step in the data
remediation process – certification.

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CDCR also has concerns about the scope of the Data Remediation process. Since the submission of the
initial preliminary Data Activation Schedule, the Data Remediation process has been expanded or
revised several times, often in response to delays or challenges caused by the Special Master and
Plaintiffs’ counsel. In addition, numerous indicators have been paused or delayed due to
recommendations, including creating new policies, expanding current policies, expanding the scope of
the indicator, and revising the CQI Guidebook questions despite the Special Master’s team being part of
the creation and revisions to the questions since the creation of the Guidebook. The Special Master’s
Data Expert has also recommended expanding data collection for indicators beyond what is currently
required as part of the Special Master’s monitoring. Even when indicators make it through BRMR with
minimal changes, it takes each indicator more than one two-hour meeting to pass through this stage.
This is despite the fact that the Data Remediation process anticipates that five items (or roughly two
indicators) will be completed each week. Only one indicator has completed BRMR and moved on
through the process between December 31, 2021 and March 30, 2022. The Data Remediation process is
not meant to be an overhaul of CDCR’s data system, or the forum to wordsmith indicators, expand the
scope, or add requirements above and beyond what is currently being done by the Special Master
during his monitoring. Rather, it’s intended to assess whether CDCR’s indicators measure what they
purport to measure.

Until clarity on what exactly is needed to achieve certification is provided and other concerns are
addressed, CDCR reserves the right to develop an independent validation process and revise the
activation schedule and related attachments.


II.     DATA REMEDIATION WORKFLOW CHANGED ON FEBRUARY 2, 2022 (PILOT PLAN)

CDCR finalized the preliminary data activation schedule in September 2021 after 18 months of working
with the Special Master’s team and Plaintiffs on the scope, design, purpose, and plan to achieve data
remediation. At the time, CDCR noted that the preliminary timeline estimated a two-week window to
verify indicators. However, a more precise estimate of the time needed to accomplish test writing could
not be offered since no indicator had reached the verification step. On November 24, 2021, the Special
Master’s Data Expert presented an updated verification plan for the first time, which included 36 sub-
steps not previously identified as part of data remediation. CDCR expressed its concern to the data
expert that the preliminary activation timeline did not account for the time needed for each indicator to
complete these new additional sub-steps or the time necessary for CDCR to establish the infrastructure
needed to properly complete the newly identified steps (e.g., mental health and IT staff, technical
resources, and an agreed-upon interdepartmental plan to complete the work). The Data Expert
maintained that the updated verification plan was always a data remediation requirement, although
that was not set forth in the initial Data Remediation workflow agreed to by the Special Master’s Data
Expert and was never expressly discussed in any data remediation meetings.

In December 2021, the Special Master unilaterally decided to discontinue all written feedback during the
stakeholder review step, and began providing verbal feedback in meetings that were scheduled to
address other data remediation steps. For example, on December 9, 2021, the Deputy Special Master
responded to CDCR’s request that we continue to receive feedback on the indicators in writing by
stating that the Special Master’s comments would be presented verbally in BRMR. At the December 14,
2021, Data Discussion, the Deputy Special Master further stated that the Special Master would not
exchange letters with Defendants regarding stakeholder feedback on indicators. Instead, the Special
Master’s feedback would be provided verbally if CDCR continued to provide written responses to the
stakeholder feedback. The Special Master’s decision changed the Validation and Verification process his

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team helped CDCR finalize in September 2021, which required that the Special Master e-mail written
feedback after each stakeholder review. CDCR explained how deviating from the agreed-upon data
remediation plan in this way would significantly delay the progress and create a less transparent process
for all stakeholders. The Special Master’s team has not provided a clear rationale for its unilateral
deviation from the agreed-upon data activation process other than disliking that CDCR’s Office of Legal
Affairs responded to the comments and questions in writing.

                            Data Remediation Plan with Annotated Contingencies




Figure 1 Data Remediation Plan Annotated with Contingencies identified on November 24, 2021 and December 2021



The agreed-upon preliminary activation schedule, the steps to achieve Data Remediation, and the order
in which the steps are completed are incompatible with the multiple contingencies made known to
CDCR on November 24, 2021, and December 2021. The Special Master had many opportunities to
identify these contingencies before the preliminary activation schedule was finalized but failed to do so
or to forecast that further steps would be added to the process.

Suppose these issues had been raised during one of the 16 biweekly Data and CQI meetings leading up
to the preliminary activation schedule filing. In that case, the activation schedule and timeline could
have been altered to account for such contingencies from the start. In January 2022, in response to the
newly identified contingencies and the delays to the timeline, CDCR engaged with all stakeholders to
redesign the Data Remediation process. The updated workflow agreed upon (below) could theoretically
offset and avoid delays by collapsing steps and streamlining the review process. On February 2, 2022, all
stakeholders agreed to begin piloting the new workflow. It was further agreed that CDCR would replace
the previous validation and verification process with the piloted process if the new workflow increased
transparency and efficiency. As of March 30, 2022, the pilot workflow has increased transparency but
not efficiency due to the significant amount of time spent discussing each data element. As discussed
further below, the current timeline is based on the assumption that five data elements will move
through each step of the process each week. However, to date, the goal has rarely been accomplished. If
this pace continues, the ultimate timeline will be significantly delayed. CDCR will continue to monitor
the success of the pilot process before determining if it should replace the previously agreed upon
process or if further adjustments are required.




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                         Pilot Data Remediation Plan from February 2, 2022 – Present




Figure 2 Pilot Data Remediation Plan



Pilot Plan Impact on Data Remediation Activation Schedule: The activation timeline was delayed by at
least two months when CDCR and stakeholders transitioned to the Pilot Remediation Plan. The two-
month delay was caused by several factors, including the necessity to pause the BRMR meetings for
several weeks, re-routing indicators to complete remediation steps that were not included in the pilot
plan, the time required for all stakeholders to get acclimated to the pilot plan, and time needed to set
up the new verification steps. This delay can be seen in figure 4 below, in both the incremental process
showing reverse progress and the delays in the verification of indicators showing verification progress is
2.8 months behind.

While the pilot data remediation process caused the most considerable delay, other factors contributed
to delays in the verification process. Some of these delays were within CDCR’s control (e.g., taking an
extra week to two weeks to review testing results). However, the remaining delays were outside of
CDCR’s control, including delays created by the electronic healthcare record system, which the
manufacturer must address; diverting staff to support the Unmet Bed Needs Assessment project; and
the need to develop a new system to correct data entry errors discovered during the verification step.

Even if all of the verification delays could have been avoided, the activation schedule expected 17-18
indicators to be verified by March 30, 2022. Since only 12 indicators have reached the verification step,
delays occurring earlier in the process (described in the contingency section below) are also contributing
to the verification delays.




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III.     ACTIVATION SCHEDULE HIGH-LEVEL OVERVIEW




Figure 3 Updated Activation Timeline




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                    Data Remediation Progress Report – as of March 30, 2022
                                                 INCREMENTAL PROGRESS
                                   Remaining Work               Remaining Work                Status        Early or Late
Group of Key Indicators               (Actual)                    (Originally
                                                                  Projected)
All Provisionally Approved                 66%                       76%                      Early         2.5 Months
       CDCR Key Indicators                 60%                                               N/A
                                        VERIFIED AND CERTIFIED INDICATORS
                                      Remaining                   Remaining                   Status        Early or Late
                                    Indicators to Be           Indicators to Be
Stage of Work Completed
                                      Verified or             Verified (Originally
                                   Certified (Actual)             Projected)
      CDCR Verified                       99%                         88%                     Late          2.8 Months
 Special Master Certified                 99%                                                N/A




 Figure 4 All Provisionally Approved Key Indicators Remaining Work (as of 3/30/22)



 Incremental Progress is the degree to which subcomponents of each indicator have successfully moved
 through the various stages of the data remediation process. As of March 30, 2022, 40% of all the steps
 necessary for CDCR key indicators and 34% of all the steps required for all the provisionally approved
 indicators to complete the data remediation process had been achieved. The incremental process for
 CDCR key indicators was included on a separate graph in previous filings. At that time, CDCR planned to
 complete all the CDCR key indicators first, as they were universally agreed upon. However, due to the
 multiple contingencies described below, all CDCR key indicators can no longer be processed first without
 creating significant delays. The incremental progress of CDCR key indicators is included in figure 4, but a
 visual representation of the expected timeline is no longer practical. The first chart in figure 4 shows the
 percent “Remaining Work (Actual)” (the percent of work remaining to be completed) and the percent of
 “Remaining Work (Originally Projected)” (the percent of work that should be remaining based on the

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timeline set out in the initial preliminary Data Activation Schedule). Taken together, these percentages
show how far ahead or behind schedule progress is. Incremental progress for all provisionally approved
indicators is currently ahead of schedule (2.5 months). While this would seem to be a sign of progress,
as of the February 2022 filing, CDCR was 5.1 months ahead of schedule, demonstrating that progress
over the previous three months has slowed significantly.

Verified Indicators include indicators that have completed all verification steps. The second chart in
figure 4 shows the percent “Remaining Work (Actual)” (the percent of work remaining to be completed)
and the percent of “Remaining Indicators to be Verified (Originally Projected)” (the percent of indicators
that should be remaining based on the timeline set out in the initial preliminary Data Activation
Schedule). Taken together, these percentages show how far ahead or behind schedule progress is. As of
March 30, 2022, only two indicators have achieved this milestone. Beginning January 1, 2022, the
activation schedule anticipated 1-2 indicators completing the verification process each week. Thus by
the end of March 2022, 17-18 indicators should have been verified. Due to several contingencies
discussed below, that progress is approximately 2.8 months behind schedule.

Certified Indicators are reviewed and certified by the Special Master’s Data Expert. On February 14,
2022, the Special Master’s Data Expert stated that he certified the ASU Pre-Screen indicator. CDCR’s
understanding is that the Special Master’s Data Expert will review and certify each indicator that goes
through the Data Validation and Verification Process. The Special Master anticipates that his Data Expert
will take a week to review each indicator once it passes verification. Once the Special Master’s Data
Expert has concluded his review, he has stated that he will provide verbal confirmation of his findings.
CDCR has repeatedly requested more information from the Special Master regarding the certification
process and written notification of any results.

New Estimated Timeline Completion – January 2024: The estimated completion date for all provisionally
approved indicators has been extended three weeks to January 26, 2024. The three-week extension is
due to two factors that impact the calculated timeline1. First, although the data remediation pilot plan
was designed to avoid many delays, such as the four-week delay created by the 36-step verification
process, it also adds one extra week to the activation schedule timeline. Second, CDCR identified nine
new subcomponents that are necessary for indicators to achieve data remediation. The subcomponents
include new glossary items and several additional data element pages. These nine items were not
previously identified or accounted for in the timeline.


IV.     CONTINGENCIES

Several delays and challenges arose since the last Data Activation Schedule that impacted CDCR’s ability
to achieve interim milestones and the overall goal of data remediation within the activation schedule
timeline. Whenever possible, CDCR has adopted improvement strategies and workflow efficiencies to
reduce the frequency and impact of these contingencies. On multiple occasions, the Special Master’s
team and Plaintiffs have voiced their willingness to help reduce delays in any way they can while
insisting that the delays’ root cause could not be undone. Managing these delays and challenges draws
staff and resources away from the planned workload necessary for indicators to complete the Data
Validation and Verification Process.


1
  The preliminary timeline was based on a relatively straightforward calculation of the volume of
work, divided by the expected completion rate of five items per week on average. Additional subcomponents or an
increased number of weeks to complete the data remediation process would extend the timeline
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        A. CQI Guidebook Incremental Updates and Real-World Data Collection

On November 9, 2021, the Special Master and Plaintiffs notified CDCR that they would no longer offer a
comprehensive review of the CQI Guidebook. This was surprising since CDCR sent a draft copy of the
proposed CQI Guidebook changes to the Special Master’s team on July 26, 2021, and to Plaintiffs on
August 5, 2021, with the understanding that they would provide comprehensive feedback. In fact, the
Plaintiffs provided comprehensive feedback on the CQI Guidebook on August 31, 2021, but later stated
that they would provide additional feedback on the CQI Guidebook during data remediation despite
having just provided numerous comments and proposed edits. CDCR explained the many ways the
decision to provide incremental feedback would negatively impact the data remediation plan, (e.g.,
increased workload, redundant reviews, high risk of delay, and cascading changes requiring the
traditional comprehensive review they were no longer willing to participate in with CDCR) but the
Special Master and Plaintiffs still refused.

Then, on March 14, 2022, the Special Master’s Data Expert confirmed that CQI tours must occur before
completing data remediation since he said the final step of verification requires live data. This primarily
affects the 51 CQI Guidebook indicators that are only used during onsite tours and are not used
routinely to collect data. This requirement for CQI tours was a surprise to CDCR. During previous
discussions with the Special Master’s team, they emphasized the opposite (that data remediation must
be completed before conducting CQI tours). Part of the Special Master’s refusal to provide
comprehensive feedback to the CQI Guidebook was that CDCR did not need such feedback until they
were required to conduct CQI tours, which he believed should not occur until data remediation was
complete. Upon learning that CQI tours are now required to complete data remediation, CDCR educated
the Special Master’s team on the various impacts this apparent reversal of expectation would create on
the timeline (e.g., the time needed to update the CQI guidebook, tool, training materials, and offer
updated training – two months; the time needed to conduct a the CQI tours – five months; and finally,
the time required to complete the final verification steps – two months). When presented with CDCR’s
concerns, the Special Master’s Data Expert indicated that collecting real-world or live data has always
been a data remediation requirement for all indicators.




                      Pilot Data Remediation Plan with Annotated Contingencies




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Figure 5 Data Remediation Plan Annotated with Contingencies Identified on November 9, 2021, and March 14, 2022




Both revelations are incompatible with the September 2021 preliminary activation schedule, the
February 2022 pilot plan implementation, and the Special Master’s insistence that CQI tours cannot
commence until data remediation is complete. While the Special Master’s Data Expert confirmed that
live data collection has always been a requirement, he did not ever express that this requirement
included the CQI onsite indicators or inform CDCR that CQI tours are necessary to complete data
remediation until after CDCR implemented plans to conduct data remediation steps and CQI tours
separately.

Current Plan to Mitigate these Contingencies: To mitigate both delays, CDCR has developed a two-
pronged approach (below). If no additional issues arise that impact this mitigation plan, this strategy
could entirely eliminate the delays created by incremental feedback and the need for live data collection
during CQI tours.

    1. Plan To Mitigate Delays Related To CQI Guidebook Incremental Updates – CDCR will prioritize
       the 51 provisionally approved key CQI indicators that rely on data collected using the CQI Tool in
       the data remediation process, thus allowing the Plaintiffs and the Special Master to provide all
       comments on the CQI Guidebook well before the end of the data remediation timeline. As of
       March 30, 2022, thirteen CQIT indicators have been approved by Change Advisory and
       Prioritization Committee (CAPC). At least half (25) of the CQIT indicators still need to go through
       BRMR. Prioritizing the review of these indicators could reduce the 18-month delay created by
       incremental feedback down to eight months if successful.

    2. Plan To Mitigate Delays Related To Live Data Collection – To mitigate the eight months of delay
       left over from the first prong, CDCR plans to complete all steps up to verification for the 51
       provisionally approved key CQIT indicators by October 31, 2022. If successful, beginning in 2023,
       CDCR could simultaneously update CQI (Guidebook, Tool, and training) and conduct CQI tours to
       collect live data while processing other indicators in the data remediation process. This will
       negate the need to wait until the end of Data Remediation to conduct CQI tours and gather live
       data, thus eliminating the remaining eight-month delay.

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          B. Timely Compliance Methodology

In August 2021, the Special Master’s Data Expert expressed concerns with CDCR’s historical approach to
calculating timely compliance (e.g., timely psychiatry and primary clinician contacts and timely
interdisciplinary treatment teams). CDCR’s historical approach to calculating timely compliance has
generally been to divide the time in compliance over the total time under review (e.g., three weeks in
compliance over a four-week review period equals 75% compliance).

On August 16, 2021, the Special Master’s Data Expert presented an overview of six options to measure
compliance. One of the methodologies reviewed was CDCR’s current methodology, sometimes referred
to as “patient-weeks compliant.” During that presentation, the data expert reported that while CDCR’s
current methodology takes the amount of time overdue into account, it gives credit for the time before
a service is late (e.g., if a routine contact is due at the end of the month, the first three weeks of the
month would be considered compliant because the service was not yet late), and was non-intuitive. He
also presented an alternative methodology that takes an all-or-nothing approach to measure
compliance. Under the all-or-nothing approach, all monthly services would be measured as 100% if all
services were offered on time or 0% if one or more services were not offered on time. For example,
every weekly clinical contact requirement within a calendar month would be 0% if one or more of the
required contacts were offered late.

The data expert has acknowledged a preference for the all-or-nothing approach. Between January 5,
2022, and January 19, 2022, the Special Master’s Data Expert presented his recommended methodology
over three BRMR meetings. On April 4, 2022, the data expert shared a link2 to the National Quality
Forum website, recommending CDCR review the measure description for “Optimal Diabetes Care.” This
description explains how to measure if diabetes is optimally managed using the all-or-none composite
measure – “considered to be the gold standard, reflecting best patient outcomes.” However, the same
description also confirms that measuring the individual treatment components (such as blood pressure,
medication, and labs) separately is “particularly helpful in quality improvement efforts to better
understand where opportunities exist in moving the patients toward achieving all of the desired
outcomes.”

The National Quality Forum website also includes measure descriptions for mental health care. For
example, the description of “Follow-Up After Emergency Department Visit for Mental Illness”3 indicates
two separate rates should be reported (follow-up within 7 days and follow-up within 30 days). Many
other mental health care measures appear to follow this approach focusing on measuring the individual
treatment components. To date, CDCR has not located any mental health care measures recommending
an all-or-nothing approach.

CDCR has started a small workgroup with its data and clinical experts to review various methods for
calculating timely compliance. This workgroup aims to thoroughly review all the options, identify a few
methods to test with actual data, and develop reference documents so that CDCR can make an informed
decision on the matter. At least 14 indicators are affected by this contingency and are currently pending
a decision to move forward.


2
    https://www.qualityforum.org/Qps/MeasureDetails.aspx?standardID=3&print=0&entityTypeID=3
3
    https://www.qualityforum.org/QPS/MeasureDetails.aspx?standardID=1850&print=0&entityTypeID=1
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Current Plan to Mitigate this Contingency: There is no agreed upon plan to address this contingency.
Once CDCR confirms a methodology, the indicators will be assessed through the data remediation
process. There is no way to estimate the resulting delay since it is unclear when these items will be
ready for data remediation and whether the Special Master’s Data Expert will certify these indicators
with the methodology used to calculate compliance.



        C. Expanding the Scope of this Project Beyond Data Remediation

The Mental Health Data Validation and Verification Process document lists the objectives of the data
remediation project, including documentation, validation, and verification of the mental health
reporting system. It further defines the validation process as follows:

        “Validate each report, indicator, and business rule that can measure compliance with its
        associated business requirement(s). This review process will result in a proposed
        operation for each reporting element and may include proposed adjustments to the
        intended operation and or underlying workflows and data. The current intended
        operation (how it should work now) and the proposed operation (how it should
        measure business requirement compliance) will then be passed along for comment by
        other stakeholders and appropriate review within CDCR.”


The activation schedule was built with these definitions in mind. This understanding contributed
significantly to the projected workflow where each process step is constantly processing five items per
week. However, very few BRMR meetings (where validated documentation is achieved) have
successfully processed five items in one week. The lag time is not immediately apparent in the
incremental progress above because BRMR meetings began on October 6, 2020. The lead time
generated by starting almost a year before the preliminary activation schedule started (September 29,
2021) is quickly dwindling. Only one indicator (inclusive of three data elements) has successfully moved
on from the BRMR step between December 31, 2021 and March 30, 2022.

Some of this delay can be attributed to reviewing the Data Expert’s recommended timely compliance
methodology and the impact of adopting the new pilot remediation plan. At the same time, the BRMR
meeting could not pass a straightforward indicator like “Percentage of Unclothed Body Searches
Conducted in a Private Area” during a 2-hour meeting. Time spent reviewing this indicator included a 10-
minute explanation from the data expert on why the word “audited” must be added to the
documentation and where it should be placed. The Special Master’s Data Expert also told CDCR that
new requirements (e.g., minimum percent of staff talked to, employee level traceability) were necessary
even though the Special Master’s team does not include these requirements in their rounding and did
not identify these audit elements during the initial design or many updates to CQIT. This indicator
eventually completed the BRMR process during a second two-hour meeting on March 30, 2022.

Additionally, all five diagnostic monitoring MAPIP indicators are on hold, pending a policy review
meeting after the Special Master’s team raised policy concerns. On March 29, 2022, the Discharge
Follow-ups indicator was also placed on a policy hold after the Special Master’s team, and Plaintiffs
raised concerns about policy interpretation. On a fairly regular basis, Plaintiffs advocate for indicator and
policy expansions arguing that the current state of the policy and indicator are barriers to data
remediation. Very recently, during the April 6, 2022, BRMR meeting the stakeholders successfully


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reviewed all the agenda items. While those conversations are not yet complete, this was a promising
sign of progress when the stakeholders agree to focus on the major concerns.

As defined by the Mental Health Data Validation and Verification Process, validation does not include
policy or indicator expansion. The data remediation process CDCR agreed to follow does and the
timeline developed in response to this process does not include the creation of a new policy, expanded
policy, or expanded indicator. Yet, every indicator reviewed by the Special Master’s team and Plaintiffs
(approximately 50 – 60 indicators) has required changes to achieve data remediation. While CDCR
agrees that any major policy gaps or flaws should be raised and remedied, most comments seek to
change or expand well-established policy, revise long-standing indicators that the Special Master’s team
created alongside CDCR, or add new requirements. This process is increasingly becoming an overhaul of
long-established and court-approved policies and processes rather than a transparency check or data
validation project. In short, the scope of the data remediation process seems to evolve continually and
expand without any clear boundaries. But the Data Remediation process is not meant to be an overhaul
of CDCR’s data system, or used to wordsmith indicators, expand the scope, or add requirements above
and beyond what is currently being done by the Special Master during his monitoring. It’s intended to
evaluate whether CDCR’s indicator measure what they purport to measure.

This issue has been raised several times with the Special Master’s Data Expert, and most recently, on
March 28, 2022. In response, the expert stated that not every indicator would require a change, but if
the Special Master’s team disagrees with the policy or the way CDCR measures it, those disagreements
must be resolved before the data expert certifies the indicators. Although this is the Data Expert’s
position, in practice, changes have been recommended to every indicator thus far, and those changes
are not limited to clarifying policy interpretation or methodology.

Current Plan to Mitigate this Contingency: On March 29, 2022, CDCR informed both the Special Master’s
team and Plaintiffs that this contingency was a growing concern. Moving forward, so-called ‘barriers to
data remediation’ identified by the Special Master’s team or Plaintiffs would require a clear rationale.
The only way to truly mitigate this contingency is to stick to a narrower scope in discussions, but CDCR
does not have control over this issue. If we keep along with the expanded scope and in-depth
discussions, the timeline will quickly be delayed as we are not successfully moving the requisite number
of items through BRMR to maintain the timeline.



        D. Changes or Newly Identified Documentation Components Necessary to Achieve Data
           Remediation

On February 7, 2022, the Special Master’s Data Expert identified revisions to the standardized
documentation templates necessary to achieve data remediation. Standardized templates were created
to mitigate the risk of incomplete documentation. The templates were designed under the guidance of
the Special Master’s data expert over several months and reviewed with Plaintiffs before being finalized
prior to the filing of the September 2021 Data Activation Schedule. Any changes to the templates could
result in the need to revise the documentation for a large number of subcomponents, which may affect
the timeline. The changes identified include a table of contents for version control and adding additional
information to the business rules template to identify the latest release date.

Current Plan to Mitigate this Contingency: Once approved, CDCR will apply the updates to the
standardized documentation templates. For all documents partway through the data remediation

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process, CDCR will apply the template updates before the documents move on to the next step. This
approach should avoid any significant delays typically associated with changing the document
templates.




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V.       Incremental Progress at the Indicator-Level


The below chart provides the incremental progress for each of CDCR’s key indicators as of March 30,
2022.

        Category                CDCR Key Indicator             Updated Name and/or Split         Incremental
                                                                      Indicators4                  Progress

      Access to Care           Timely MH Referrals               1. Timely MH Referrals               49%
                                                                 2. Timely response to                27%
                                                                    Critical Med non-
                                                                    adherence notification
                                                                 3. Timely response to                28%
                                                                    Non-critical Med non-
                                                                    adherence notification
      Access to Care            Timely PC Contacts                                                    44%

      Access to Care        Timely Psychiatry Contacts                                                39%

      Access to Care               Timely IDTTs                                                       34%

      Access to Care            Treatment Offered                                                     40%

      Access to Care      Placement of ASU/SHU CCCMS
                               in STRH/LTRH within
                                    Timeframes                                                        66%

      Access to Care            Timely Transfers to
                                   CCCMS/EOP                                                          15%

      Access to Care         Effective Communication
                                     Achieved                                                         95%

      Access to Care      IDTTs in a Confidential Setting                                             85%

      Access to Care           Group Treatment in a
                                Confidential Setting                                                  95%

      Access to Care       MHSDS Patients Transferred
                            out of Desert Institutions                                                15%

      Access to Care          Observed RC Screens
                           Conducted in a Confidential
                                    Setting                                                           60%

      Access to Care                MH Screens                   1. ASU PreScreens                   100%
                                                                 2. ASU GP Screens                   100%
                                                                 3. RC Screens                        95%


4
 Updated names and split indicators are as of 12/31/2021 and have not been approved by CDCR or the Special
Master.
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  Suicide Prevention   Timely Completion of 5/8 Day          Discharge Follow Ups
                          Follow Ups from MHCB,
                          alternative housing, and
                       DSH/PIPs. MHCB, Alternative
                          Housing, DSH, and PIPs                                           55%

  Suicide Prevention   Patients referred to MHCB on
                         Continuous Direct Visual
                                Observation                                                55%

  Suicide Prevention     Housing Unit/Inmate Living
                           Areas with emergency
                          response equipment and
                              Inventoried Daily                                            50%

  Suicide Prevention   Custody Follow Ups for MHCB
                          Discharges/7497 Forms                                            20%

  Suicide Prevention   Orders Reviewed with Properly
                         Documented Observation
                                  Orders                                                   55%

  Suicide Prevention   MHCB Records with Rationale
                       for Limited Issues of Clothing
                                and Bedding                                                55%

  Suicide Prevention   MHCB property and privileges                                         0%

  Suicide Prevention        ASU Intake Inmates
                           Appropriately Housed                                            60%

  Suicide Prevention    Percentage of ASU Welfare
                       Checks audited that were not
                          completed on time and
                                staggered                                                  15%

  Suicide Prevention     Percentage of nursing staff     Nursing staff current with CPR
                          current with CPR training                 training

                                                                                           10%

  Suicide Prevention   Percentage of Health Care Staff
                           with Suicide Prevention
                                   Training                                                 0%

  Suicide Prevention   Percentage of Custody Officers    Custody Officers with suicide
                          with Suicide Prevention            prevention training
                                  Training                                                 60%

   Quality of Care              IDTT Staffing                                              40%



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   Quality of Care      Cases with Documentation of
                           Appropriateness of LOC
                            Discussed for Patients
                            Identified by 7388B as
                         Potentially Requiring Higher
                                      LOC                                                 55%

   Quality of Care         Treatment Plans with
                        Satisfactory Documentation                                        95%

   Quality of Care     Treatment Plans with Reason
                        for Refusal and Intervention
                       Documented for High Refusers                                       55%

   Quality of Care         Treatment Plans with
                       Documented and Implemented
                             Pre-Release Plans                                            95%

   Quality of Care        IDTTs in which PC Intake
                        Evaluations were Completed
                             Prior to Initial IDTT                                        60%

   Quality of Care       IDTTs in which Psychiatry
                          Intake Evaluations were
                       Completed Prior to Initial IDTT                                    60%

   Quality of Care     EOP IDTT Discussion of Clinical
                        Appropriateness for Work,
                        Education Accommodation                                           60%

 Specialized Custody      Percentage of RVR MHAs
                           Where the Patient was
                          Informed of the Limits of
                               Confidentiality                                            95%

 Specialized Custody      RVRs Recommended for
                       Mitigation with Documentation
                       of Consideration of Mitigation                                     60%

 Specialized Custody     Percentage of Days Where
                        Heat Plan was Activated, and
                            Alternative Out of Cell
                       Activities were Offered to Heat
                                 Alter Patients                                           30%

 Specialized Custody       Inmates Not Requiring         Percentage of MHCB patients
                        Restraints for MH Treatment       placed in TTM within policy
                          Attended Outside a TTM                 requirement              50%




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 Specialized Custody   Percentage of 128Bs Indicating
                            the Requirement for
                       Mechanical Restraints that are
                         Present for MHCB Patients                                        30%

 Specialized Custody       Thermometer Checks
                          Completed and Accurate                                          60%

 Specialized Custody    Timely MH RVR Assessments                                         37%

    Medication          Medication Admin: Chronic
    Management          Care Medications Historical
                        Administration (Psychiatrist)                                      0%

    Medication         Medication Admin: Outpatient     Medication Admin: Chronic
    Management          Provider New Medication         Care Medications Historical
                           Orders (Psychiatrist)        Administration (Psychiatrist)      0%

    Medication             Diagnostic Monitoring-
    Management                 Antipsychotics                                             45%

    Medication             Diagnostic Monitoring-
    Management                   Clozapine                                                35%

    Medication          Diagnostic Monitoring-Mood
    Management                   Stabilizers                                              35%

    Medication             Diagnostic Monitoring-
    Management                Antidepressants                                             35%

    Medication           Diagnostic Monitoring-QT
    Management          Prolongation EKG 12 Months                                        35%

    Medication         Continuity of Meds Upon Inter-
    Management          Institutional Transfer at R&R                                      0%

    Medication          Continuity of NA/DOT Meds
    Management            with Intra-Institutional
                           Transfers (Excluding
                              ASU/SHU/PSU)                                                 0%

    Medication          Continuity of Meds: Mental
    Management           Health Crisis Bed (MHCB)
                                 Transfers                                                 0%

    Medication         Continuity of Meds with Intra-
    Management           Institutional Transfers to
                               ASU/SHU/PSU                                                 0%

    Medication              Continuity of Meds:
    Management           Discharge/Transfer from a                                         0%


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                        Community Hospital and/or
                                 DSH

    Medication          Medication Compliance with
    Management          PC 2602, Involuntary Meds:
                               Court Order                                                   0%

    Medication          Medication Compliance with
    Management          PC 2602, Involuntary Meds:
                                Med Order                                                    0%

  Restricted Housing     Placement of ASU EOPs in
                        Appropriate Housing Within
                               Timeframes                                                   30%

  Restricted Housing          ASU Pre-Screens             New indicator, previously part
                                                            of “Timely MH Screens”
                                                                    indicator               100%

  Restricted Housing   Percentage of Refused ASU MH
                        Screenings that Resulted in a
                        PC Contact within 5 Working
                                    Days                                                     0%

  Restricted Housing    Percentage of ASU Screenings        Duplicate. ASU GP Screen
                       that Occurred Within 72 Hours      progress is also tracked under
                           of Placement of Arrival                 MH Screens               100%

  Restricted Housing       ICCs with Mental Health
                       Clinicians present, and relevant
                             information provided                                           60%

  Restricted Housing    (LMH: in suicide prevention)      Cells reviewed where inmates
                       Cells Reviewed Where Inmates           are allowed approved
                            Are Allowed Approved              entertainment devices
                           Entertainment Devices                                            40%

  Restricted Housing       ASU Screens that are
                         Conducted in Confidential
                                 Settings                                                   10%

  Restricted Housing    ASU Out of Cell Time Offered                                        30%

  Restricted Housing   Percentage of Weeks in which
                       Yard was Offered According to
                             STRH/LTRH Policy                                               35%

  Restricted Housing   Weeks in which Shower Access
                          in ASU was Offered as
                                 Required                                                   20%


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     Restricted Housing       Units in which Staff can
                          Identify NDS Patients and Have
                            Tracking System for Phone
                                 Calls and Property                                                     30%

       Utilization and       Timely admission to MHCB                                                   50%
         Resource
       Management

     Suicide Prevention      Patients in Alt Housing on            1. Percentage of patients           43%*5
                            continuous observation and                 in alt housing with a
                           provided suicide-resistant bed              bed
                                                                   2. Patients referred to
                                                                       MHCB on continuous
                                                                       direct visual
                                                                       observation
     Suicide Prevention    Emergent/urgent MH referrals            Suicide Risk Evaluation              47%*
                              that result in SRASHEs

     Suicide Prevention    Percentage of timely Nursing           1. Timely documentation               0%*
                           Rounds in MHCB patients on                 of suicide watch
                             suicide watch and suicide            2. Timely documentation
                           precaution recorded in EHRS                of suicide precaution             0%*
                           Clearly Marked, On Time, and           3. Percentage of nursing
                           Documented on Correct Form                 rounds clearly marked,
                                                                      on time, and                      0%*
                                                                      documented on correct
                                                                      form
     Suicide Prevention    Percentage of Observed R&R          1. Percentage of Observed                40%*
                           and Reception Center Screens           Reception Center MH
                            in Confidential Setting and           Screens in Confidential
                           Correct Documentation Used             Setting
                                                               2. Percentage of Observed
                                                                  R&R Screens in Confidential
                                                                  Setting and Correct
                                                                  Documentation Used

     Suicide Prevention       Emergency Response                                                        0%*
                           Procedures for Self-Injurious
                          behaviors and suicide attempts

     Suicide Prevention     MHCB Daily Provide Checks                                                   50%*




5
 Incremental Progress percentages with an “*” notes that these indicators are still under discussion with the
Special Master to determine if they refer to existing indicators or new indicators. As discussions continue, the
Special Master and Defendants may agree to remove some of these indicators if they are no longer appropriate or
are part of a different indicator.
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     Restricted Housing   Psych Tech Rounds Completed                                                 0%
                          According to PG Requirements



In the spirit of further transparency, the below chart provides the incremental progress for the
additional indicators.
        Category                Additional Indicators         Updated Name and/or Split        Incremental
                                                                                  6
                                                                       Indicators                Progress

       Access to Care     Timely Admissions to Inpatient
                                      Care                                                            0%*

       Access to Care      Inpatient Transfer Deadlines
                                 for PIPs and DSH                                                     0%*

       Access to Care         Percentage of all IDTTs             Percentage of all IDTTs
                            observed in which a health          observed in which a health
                          record and C-file are available     record and SOMS are available           60%

       Access to Care      Appointments Cancelled Due
                                   to Custody                                                         30%

       Access to Care         Appointments Seen as
                                   Scheduled                                                          15%

       Access to Care     Housing Units where 128 MH-
                          5s are Accessible and Available
                               to Housing Unit Staff                                                  55%

       Access to Care          Custody MH Referrals                                                   40%

       Access to Care         MHSDS inmates in ASU
                             transferred within policy
                                   requirements                                                       0%

     Suicide Prevention      Safety planning to reduce
                                    suicide risk                                                      15%

     Suicide Prevention      Suicide-resistant MHCBs                                                  0%

     Suicide Prevention       APP/ICF Discharges with           Acute/ICF Discharges with
                           Clinician-to-Clinician Contact      Clinician to Clinician Contact
                                   within 5 Days                       within 5 Days                  55%

     Suicide Prevention        SRE Mentor Program                                                     25%

     Suicide Prevention   SREs that Met All Audit Criteria      Quality of Selected SRASHE
                                                                      Documentation                   95%

6
 Updated names and split indicators are as of 12/31/2021 and have not been approved by CDCR or the Special
Master.
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  Suicide Prevention    Discharges from MHCB with
                          Clinician Review of D/C
                            Summary (SRASHE)                                                   55%

  Suicide Prevention    Satisfactory SPR FIT Meeting                                           25%

   Quality of Care     Primary Clinician Continuity of
                                    Care                                                       15%

   Quality of Care     Psychiatrist Continuity of Care                                         15%

   Quality of Care     IDTTs Meeting All Audit Criteria   IDTTs with observed interactive
                                                                      process                  60%

 Specialized Custody     RVRs Where Hearing Officer
                        Disagreed with MH Clinician’s
                       Recommendation to Document
                        in an Alternative Manner and
                          Documented Rationale for
                            Disagreement on 128B                                               55%

 Specialized Custody      RVRs Recommended for
                           Mitigation That Were
                                 Mitigated                                                     50%

 Specialized Custody     Use of Force involving MH
                                  Inmates                                                      55%

 Specialized Custody      Additional Use of Force             Duplicate: Use of Force
                       (Specificity to be determined)         involving MH Inmates             55%

    Medication          Additional MAPIP (Specific                                              0%
    Management         medication monitoring, other
                        MAPIP measures related to
                         psychiatric medication
                       monitoring not included here)

  Restricted Housing   NDS timely expedited transfers      Percentage of required NDS
                                                          transfers that occurred within
                                                                     72 hours                  30%

  Restricted Housing   ASU Inmates on 21-Day Intake       ASU Inmates on 21-Day Intake
                       Status with Markers Posted for      Status with Markers Posted
                               initial 72 hours                                                25%

  Restricted Housing   Percentage of Unclothed Body
                          Searches Conducted in a
                                Private Area                                                   50%

  Restricted Housing   Warden Review of Cases Over
                                90 Days                                                        10%

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  Restricted Housing    ASU LOS for MHSDS v. Non-
                             MHSDS Patients                                       0%

  Restricted Housing     EOP Hub CCII and Captain
                        Review for LOS Over 90 Days                              15%

  Restricted Housing    Percentage of Inmates with
                        LOS Over 150 Days in which
                          ASU Case Reviews were
                            Completed on Time                                    10%

  Restricted Housing     ASU, STRH, LTRH Morning
                         Meetings meeting All Audit
                                  Criteria                                       30%

  Restricted Housing      Percentage of Initial ICCs
                        Reviewed and Held within 10
                          Calendar Days of Arrival                               30%

  Restricted Housing    Number of EOP and CCCMS
                            Patients in ASU                                       0%

  Restricted Housing    Percentage of ASU Welfare
                        Check Summaries Reviewed
                          and Signed by Custody
                               Supervisors                                       15%

  Restricted Housing    High Refusers Due to Custody
                       Reasons with Documented Plan
                                  of Action                                      55%

  Restricted Housing    High Refusers in which 128B
                              was Completed                                      55%

  Restricted Housing    Percentage of High Refusers
                         Due to Custody in Which a
                         Meeting Between MH and
                       Custody was Conducted within
                              7 Calendar Days                                    30%

  Restricted Housing    Inmates Who Received ASU
                                MH Guide                                         30%

  Restricted Housing     Percentage of Psych Tech
                        Round Documentation That
                          Meets All Audit Criteria                                0%

  Restricted Housing    Psych Tech Rounds Where EC
                         and Interaction with Patient
                                                                                  0%
                        are Achieved/Attempted and


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                         Appropriate Referrals are
                            Made as Indicated

  Restricted Housing   Percentage of IDTTs Observed           Percentage of all IDTTs
                       in which a Health Record and         observed in which a health
                           C-File were Available          record and SOMS are available    60%

  Restricted Housing    Percentage of Peace Officers
                        Observed to Carry their CPR
                               Mouth Shield                                                55%

  Restricted Housing   Percentage of Eligible MHSDS
                       Patients Receiving Milestone
                                  Credits                                                   0%

  Restricted Housing    RVR MH Assessments Where            RVR assessments where
                            All Documentation             documentation requirements
                          Requirements Were Met                   were met                 95%

  Restricted Housing       RVR MH Assessments
                        Conducted in Private Setting                                        0%

  Restricted Housing   Use of Force MH Assessments
                         Meeting Documentation
                               Requirements                                                55%

  Restricted Housing   Patients Discharged from DSH
                        with Classification Casework
                        Completed Prior to Transfer
                              When Required                                                20%

  Restricted Housing    Compare Percent of Inmate          Numbers and Percentage of
                         Overall that Received RVRs           RVRs by level of care
                       with Percentage of MH Inmates      (CCCMS, EOP, MHCB, ICF, and
                             that Received RVRs           ACUTE patients, non- MHSDS)       5%

  Restricted Housing   Percentage of MH-7s required        Duplicate: ASU PreScreens
                          completed prior to ASU
                                placement                                                  100%

    Patient Safety      Number of Episodes of Heat
                        Related Illness Occurring in
                                   MHSDS                                                   20%

    Patient Safety     Percentage of Clinical Restraint
                       Occurrences Meetings [sic] All
                            of the Audit Criteria                                          30%

    Patient Safety       Seclusion, Frequency, and               Seclusion Rate
                                 Duration                                                   4%

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    Utilization and       MHCB Clinical Stays within
      Resource                 Timeframes
    Management                                                                       45%

    Utilization and      Percentage of mental health
      Resource            OHU stays 48 hours or less
    Management                                                                        0%

 Facility/Environment     Adequate Group Treatment
         of Care                   Space                                             60%

 Facility/Environment        Adequate IDTT Space
         of Care                                                                     60%

 Facility/Environment   Adequate Individual Treatment
         of Care                   Space                                             60%

  Staffing/Personnel           Chief Psychiatrist                                    0%*
  Training, and Staff
      Resources

  Staffing/Personnel    Chief Psychologist, Correctional                             0%*
  Training, and Staff               Facility
      Resources

  Staffing/Personnel          Senior Psychologist,                                   0%*
  Training, and Staff         Correctional Facility
      Resources                  (Supervisor)

  Staffing/Personnel    Senior Psychiatrist (Supervisor),                            0%*
  Training, and Staff   Correctional and Rehabilitative
      Resources                 Services (Safety)

  Staffing/Personnel    Supervising Psychiatric Social                               0%*
  Training, and Staff   Worker I, Correctional Facility
      Resources

  Staffing/Personnel    Senior Psychiatrist (Specialist),                            0%*
  Training, and Staff   Correctional and Rehabilitative
      Resources                Services (Safety)

  Staffing/Personnel         Senior Psychologist,                                    0%*
  Training, and Staff   Correctional Facility (Specialist)
      Resources

  Staffing/Personnel    Staff Psychiatrist, Correctional                             0%*
  Training, and Staff     and Rehabilitative Services
      Resources                     (Safety)




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  Staffing/Personnel          Recreation Therapist,                                    0%*
  Training, and Staff          Correctional Facility
      Resources

  Staffing/Personnel             Psychologist-Clinical,                                0%*
  Training, and Staff            Correctional Facility
      Resources

  Staffing/Personnel         Clinical Social Worker                                    0%*
  Training, and Staff    (Health/Correctional Facility) –
      Resources                       Safety

  Staffing/Personnel         Staff that report having                                   0%
  Training, and Staff      computers for all out of call
      Resources               clinical appointments

  Staffing/Personnel      Percentage of healthcare staff                                0%
  Training, and Staff    current with suicide prevention
      Resources            training (duplicate from SP)

  Staffing/Personnel      Allocated and filled positions                                0%
  Training, and Staff
      Resources

 Additional Indicators   Including                                                     0%*

                                  Sustainability Process
                                  ASU EOP Hub
                                   Certification (To be
                                   determined)
                                  PIP (To be developed)
                                  Custody and Mental
                                   Health Partnership
                                   Collaboration (To be
                                   developed)




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